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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                        Case No. 99-6153-Cr-UNGARO
     UNITED STATES OF AMERICA,            )   Pages 1-25
                                          )
                      Plaintiff,          )
                                          )
                -v-                       )
                                          )
     ARMANDO VALENCIA,                    )
                                          )   Miami, Florida
                      Defendant.          )   October 29, 2012
                                          )   2:25 p.m.




                           TRANSCRIPT OF PLEA COLLOQUY

                       BEFORE THE HONORABLE EDWIN G. TORRES

                                U.S. MAGISTRATE JUDGE

     APPEARANCES:
     For the Government             FRANK TAMEN
                                    Assistant U.S. Attorney
                                    99 Northeast 4th Street
                                    Miami, Florida 33132-2111

     For the Defendant              IRWIN G. LICHTER, ESQ.
                                    321 Northeast 26th Street
                                    Miami, Florida 33137

                                    WILLIAM A. CLAY, ESQ.
                                    11440 North Kendall Drive
                                    Miami, Florida 33176

                                    (Interpreters present)

     REPORTED BY:                   WILLIAM G. ROMANISHIN, RMR, FCRR, CRR
     (305) 523-5558                 Official Court Reporter
                                    400 North Miami Avenue
                                    Miami, Florida 33128




            STENOGRAPHICALLY RECORDED COMPUTER-AIDED TRANSCRIPT
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 1              (Call to order of the Court)

 2              THE COURTROOM DEPUTY:        Calling case United States

 3   versus Armando Valencia, 99-6153-Criminal-Judge Moore,

 4   superseding indictment.

 5              Counsel, please state your appearances for the

 6   record.

 7              MR. TAMEN:     Good afternoon, Your Honor.         Frank Tamen

 8   representing the United States.

 9              MR. LICHTER:     Good afternoon, Your Honor.          Irwin

10   Lichter on behalf of Armando Valencia, who's here with me

11   being assisted by the interpreter.

12              MR. CLAY:     Good afternoon, Your Honor.         William

13   Clay.   I am here.     I had filed a motion for substitution of

14   counsel.    Actually there are two in the record, so the Court

15   is not confused.

16              After about three or four hours of trying to file the

17   original motion for substitution of counsel Friday afternoon

18   and evening, I was encountering constant glitches in getting

19   that successfully filed.        So I filed it with electronic

20   signatures, and then for some reason that glitch cleared up

21   over the weekend and my secretary was able to file the

22   document with the client's signature on it this morning.                 So

23   you'll see two pleadings.

24              I met with Mr. Valencia last night expecting that I

25   would be here representing him on the change of plea and that
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 1   Mr. Lichter would be here also just because he had been

 2   previous counsel; and upon meeting with Mr. Valencia a few

 3   minutes before two o'clock this afternoon, he explained to me

 4   that he wanted to continue with the choice of Mr. Lichter as

 5   his counsel and that he did not need my services.

 6              So, I'm making that announcement to the Court subject

 7   to what the Court wants to do for inquiry.             I'm anticipating,

 8   of course, that I will file electronically a motion to

 9   withdraw my motion for substitution of counsel.

10              THE COURT:     Okay.    Is that your understanding,

11   Mr. Lichter?

12              MR. LICHTER:     I'm sorry, Your Honor?

13              THE COURT:     Is that your understanding?

14              MR. LICHTER:     Yes, Judge, it is my understanding.

15              THE COURT:     All right.     Let me ask Mr. Valencia --

16   Mr. Tamen.

17              MR. TAMEN:     I was going to suggest that the Court ask

18   Mr. Valencia to state on the record who he wants to represent

19   him in this proceeding.

20              THE COURT:     Correct.

21              Mr. Valencia, it's my understanding you've been

22   represented in this case by Mr. Lichter, is that right?

23              THE DEFENDANT (all through the interpreter):             Yes.

24              THE COURT:     And it's my understanding that you at

25   this point wish to have him continue to represent you, is that
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 1   right?

 2              THE DEFENDANT:        Yes, Your Honor.

 3              THE COURT:     Because apparently you had considered

 4   having Mr. Clay substitute in as counsel for you.              Do you no

 5   longer wish to have Mr. Clay represent you?

 6              THE DEFENDANT:        That is correct, Your Honor.

 7              THE COURT:     Okay.     So, at this point, then, we were

 8   set for a change of plea in your case.            Do you wish to proceed

 9   with the hearing on the change of plea with Mr. Lichter

10   representing you?

11              THE DEFENDANT:      That is correct, Your Honor.

12              THE COURT:     All right.     That's fine.

13              So, Mr. Clay, based upon Mr. Valencia's responses,

14   what I'll do is I'll just say based upon the proceedings

15   today, we'll just moot out your filing, so you don't have to

16   file anything else.

17              MR. CLAY:     So you'll indicate that in a minute

18   entry?

19              THE COURT:     Correct.

20              MR. CLAY:     Okay.

21              THE COURT:     And then we'll just issue --

22              MR. CLAY:     I'm fine with that.       I'm just thinking

23   what would Judge Moore prefer.          But since he's delegated at

24   this point to you --

25              THE COURT:     As long as the record is clear, I think
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 1   that's all he cares about.

 2              MR. CLAY:     Will you be addressing that in your report

 3   and recommendation?

 4              THE COURT:     Correct.     Absolutely.

 5              MR. CLAY:     Thank you.     Then I'll retire to the

 6   audience.

 7              THE COURT:     Thank you very much, Mr. Clay.

 8              All right.     So, we can proceed with the change of

 9   plea then.

10              Mr. Lichter, have you discussed with Mr. Valencia his

11   right to have this hearing presided over by Judge Moore, his

12   right to consent to my jurisdiction --

13              MR. LICHTER:     I did, and I explained to him that

14   Judge Moore had asked us if we would have it before Your

15   Honor, and both of us talked about it and we agreed that it

16   would be fine to do this before the magistrate judge.

17              THE COURT:     All right.     Very well.

18              The Government contents as well?

19              MR. TAMEN:     Yes, Your Honor.

20              THE COURT:     All right.     With the parties consenting,

21   then, we can proceed with this hearing, Mr. Valencia.               The

22   purpose of the hearing is to determine that you understand the

23   consequences of changing your plea in this case; that you're

24   doing so knowingly and voluntarily; and to assure the Court of

25   that fact.     So, for that reason I need to ask you a series of
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 1   questions.     You must be under oath so that you understand that

 2   every answer you give me is true and correct.

 3              Do you understand that, Mr. Valencia?

 4              THE DEFENDANT:      Yes, I have, Your Honor.

 5              THE COURT:     Let me have the defendant sworn in.

 6        ARMANDO VALENCIA CORNELIO, DEFENDANT, SWORN AND TESTIFIED

 7   THROUGH THE INTERPRETER

 8              THE COURT:     Mr. Valencia, if at any point you don't

 9   understand me or don't understand the translation, please let

10   me know, and if you have any questions you wish to ask of your

11   lawyers, please let me know as well.           We'll give you that

12   opportunity.

13              Your full name for me.

14              THE DEFENDANT:      Perfectly well.      Thank you very much,

15   Your Honor.

16              Armando Valencia Cornelio.

17              THE COURT:     How old are you, Mr. Valencia?

18              THE DEFENDANT:      I'm 52.

19              THE COURT:     Highest level of education.

20              THE DEFENDANT:      Pre-university, but I was not able to

21   finish that.

22              THE COURT:     Ever been treated for any type of mental

23   illness?

24              THE DEFENDANT:      No, never, never, Your Honor.

25              THE COURT:     Ever been treated for any addiction to
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 1   drugs of any kind or alcohol?

 2              THE DEFENDANT:      No, never, Your Honor.

 3              THE COURT:     This afternoon are you under the

 4   influence of any medication, substance, prescription, anything

 5   at all?

 6              THE DEFENDANT:      No, never, Your Honor.

 7              THE COURT:     Very well.

 8              In this case the parties have entered into a written

 9   plea agreement, which will be marked as Exhibit 8 to the

10   hearing.    Before I review that paragraph, let me ask you,

11   Mr. Valencia -- this is a four-page document signed by

12   counsel -- is this your signature as the defendant on page 4,

13   Mr. Valencia?

14              THE DEFENDANT:      Yes, Your Honor.

15              THE COURT:     And prior to your signing it, did you

16   have it translated for you?

17              THE DEFENDANT:      Yes, Your Honor, that is correct, it

18   was.

19              THE COURT:     And did you understand all the provisions

20   of the agreement?

21              THE DEFENDANT:      Yes, Your Honor.

22              THE COURT:     And did you review the agreement and the

23   consequences of doing so with your lawyer prior to your

24   signing it?

25              THE DEFENDANT:      Yes, that is correct, Your Honor.
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 1              THE COURT:     All right.     Paragraph 1 of the agreement

 2   indicates that you wish to plead guilty to Count 3 of the

 3   fourth superseding indictment charging you with conspiracy to

 4   import cocaine, in violation of Title 21, U.S. Code, Section

 5   963.

 6              Paragraph 2 indicates the Government will THEN seek

 7   dismissal of the remaining counts of the indictment as to you

 8   after sentencing.

 9              Is that your understanding, Mr. Valencia?

10              THE DEFENDANT:      Yes, Your Honor.

11              THE COURT:     And you recall, Mr. Valencia, that at the

12   time of your arraignment on these charges, you pled not guilty

13   to all the counts of the indictment?

14              THE DEFENDANT:      Yes, that is correct, Your Honor.

15              THE COURT:     And you were charged at that point in

16   time with, I believe, three counts:           Conspiracy with intent to

17   distribute cocaine, conspiracy with intent to import cocaine,

18   and money laundering.       Is that right?

19              MR. TAMEN:     Yes, Your Honor.

20              THE DEFENDANT:      Yes, sir.

21              THE COURT:     So, now, Count 3, though -- I guess I

22   have a different penalty sheet.          Count 3 now is on the

23   conspiracy to import?

24              MR. TAMEN:     That's what I recall it being when I

25   looked at the fourth superseding indictment.
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 1              THE COURT:     Okay.    I just want to make sure we got

 2   the right count.      Okay.

 3              MR. TAMEN:     The charge is the most important, that

 4   is, conspiracy to import.

 5              THE COURT:     Very well.

 6              And do you understand, Mr. Valencia, that as to all

 7   the counts charged against you in the original indictment and

 8   in the fourth superseding, which is the most current, that

 9   pleading not guilty, you would invoke your right to a jury

10   trial on all the Government's allegations, meaning the

11   Government would have to prove each of those offenses beyond a

12   reasonable doubt to the satisfaction of a jury?              Do you

13   understand that?

14              THE DEFENDANT:      Yes, Your Honor.

15              THE COURT:     And by invoking your right to a jury

16   trial, what that means as a practical matter is you have a

17   right to have the Government prove its case before a jury; you

18   have the right to challenge the Government's evidence;

19   cross-examine Government witnesses who may testify against

20   you.   You have the right to testify on your own behalf and put

21   on your own witnesses at trial.          You also have the right not

22   to testify and the fact you didn't testify could not possibly

23   be used against you.       Do you understand all of that?

24              THE DEFENDANT:      Yes, Your Honor.

25              THE COURT:     And do you understand that by changing
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  1   your plea now from not guilty to guilty as to Count 3 of the

  2   fourth superseding, you're waiving your right to that jury

  3   trial and you're waiving your right to all those procedures in

  4   your case?    Do you understand?

  5             THE DEFENDANT:      That is correct.       I do understand,

  6   Your Honor.

  7             THE COURT:     And have you had an opportunity to review

  8   your case as a whole with your lawyer?

  9             THE DEFENDANT:      Yes, Your Honor.

 10             THE COURT:     And are you satisfied with the

 11   representation you've received from your lawyer, Mr. Lichter,

 12   in connection with your case?

 13             THE DEFENDANT:      Yes, Your Honor.

 14             THE COURT:     And with respect to the decision to

 15   change your plea, have you thoroughly reviewed that decision

 16   with your lawyer?

 17             THE DEFENDANT:      Yes, Your Honor.

 18             THE COURT:     Now, do you also understand that by

 19   changing your plea, you are pleading guilty to a felony

 20   offense and you are waiving your right to appeal any

 21   conviction of that felony offense to the Court of Appeals?                Do

 22   you understand that?

 23             MR. LICHTER:      Excuse me, Judge.       May I inquire with

 24   the Court?    The Court indicated that he is waiving his right

 25   to an appeal?
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  1              THE COURT:    Of the conviction, sure.         That's why he's

  2   pleading guilty.

  3              MR. LICHTER:     Yes, he is pleading guilty, that is

  4   right.    I'm sorry.

  5              THE COURT:    You may have thought about the sentence.

  6              MR. LICHTER:     Of course.

  7              THE COURT:    No, no, no.      I'm just asking first about

  8   the conviction, the underlying conviction.

  9              MR. LICHTER:     Sorry.

 10             THE COURT:     Do you understand that, Mr. Valencia?

 11             THE DEFENDANT:      May I please ask my attorney

 12   something?

 13             THE COURT:     Yes.

 14             THE DEFENDANT:      Yes, Your Honor, I do understand

 15   that.

 16             THE COURT:     And by pleading guilty to a felony

 17   offense, also, that carries with it additional consequences

 18   beyond any term of imprisonment that may apply.             It may

 19   affect, for example, the right to seek citizenship in the

 20   future.   It may affect deportation proceedings, if you're a

 21   noncitizen, at the conclusion of your sentence, and other

 22   consequences that come about by having any felony conviction

 23   on one's record.      Do you understand that, Mr. Valencia?

 24             THE DEFENDANT:      Yes, I do understand it, Your Honor.

 25             THE COURT:     All right.     The parties in the case have
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  1   also entered into a written factual proffer, which will be

  2   parked as Exhibit B to the hearing.          It is a two-page document

  3   signed by counsel.

  4              Is this your signature, Mr. Valencia, on the proffer

  5   that I have been provided?

  6              THE DEFENDANT:       Yes, it is my signature, Your Honor.

  7              THE COURT:    And prior to your signing it, did you

  8   agree to all the facts in the proffer and were all the facts

  9   translated for you?

 10              THE DEFENDANT:     Yes, that is correct, Your Honor.

 11              THE COURT:    All right.     Proceeding with the plea

 12   agreement, paragraph 3 of the agreement indicates the

 13   defendant's understanding as to the application of the

 14   Sentencing Guidelines; his acknowledgment that the Court has

 15   the authority to impose any sentence within and up to the

 16   statutory maximum for the offense in paragraph 1; and that he

 17   may not withdraw his plea solely as a result of the sentence

 18   imposed.    Do you understand that, Mr. Valencia?

 19              THE DEFENDANT:     I do, Your Honor.

 20              THE COURT:    Have you had an opportunity to review

 21   those guidelines and the potential sentence that may apply in

 22   your case with your lawyer?

 23              THE DEFENDANT:     May I inquire of my attorney?

 24              THE COURT:    Yes.

 25              THE DEFENDANT:     Yes, Your Honor, I have spoken with
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  1   him.

  2             THE COURT:     And do you understand that what this

  3   paragraph is saying is that, regardless of any expectation you

  4   may have based upon your assessment or evaluation of those

  5   guidelines, the Court is not bound by any of the guidelines,

  6   and if the Court were to sentence you to a term greater than

  7   you are anticipating, you could not use that fact as a basis

  8   to then seek to withdraw your plea at a later date?              You would

  9   still be bound by the sentence imposed.           Do you understand

 10   that?

 11             THE DEFENDANT:      That is correct, Your Honor.

 12             THE COURT:     Paragraph 4 of the agreement indicates

 13   that you understand that the Court may impose a minimum term

 14   of imprisonment of ten years and may impose a statutory

 15   maximum term of imprisonment of up to life followed by a term

 16   of supervised release of five years.

 17             In addition to a term of imprisonment and supervised

 18   release, the Court may also impose a fine of up to $4 million

 19   in addition to a $100 special assessment at the time of

 20   sentencing.

 21             Do you understand those are the possible consequences

 22   from a conviction on Count 3 of the indictment?

 23             THE DEFENDANT:      Yes, Your Honor.

 24             THE COURT:     Paragraph 7 of the agreement indicates

 25   the parties jointly recommend that the defendant be held
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  1   accountable for the offense conducted involving more than 150

  2   kilos of cocaine for purposes of the sentencing guideline

  3   computation.

  4             Paragraph 8 indicates that the Government will

  5   recommend that the Court reduce by two levels the guideline

  6   level based upon the defendant's acceptance of responsibility;

  7   if the level is 16 or greater, motion for an additional one-

  8   level decrease will be made.

  9             The Government further agrees to recommend that the

 10   defendant will be sentenced at the low end of the range as

 11   that range is determined by the Court, subject to the

 12   defendant's compliance with the conditions of the agreement.

 13             Do you understand all that, Mr. Valencia?

 14             THE DEFENDANT:      Yes, Your Honor.

 15             THE COURT:     Paragraph 9 indicates that the parties

 16   further agree that they will not seek a sentence that is

 17   outside of the applicable guideline range as determined by the

 18   Court.

 19             Paragraph 10 indicates the defendant's understanding

 20   as to the possible consequences, as I asked earlier, of a

 21   conviction on Count 3, including possible removal or

 22   deportation from the United States at the expiration of the

 23   term of imprisonment.

 24             Paragraph 11 reiterates that the defendant is aware

 25   that his sentence has not yet been determined; that any
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  1   estimate of the probable sentencing range from any source is

  2   not binding on the Court; and again, that he may not withdraw

  3   his plea, even if the Court declines to accept any motions or

  4   recommendations by the parties.         Those are the material terms

  5   of the plea agreement that Mr. Valencia has agreed to.

  6             Do you understand all that, Mr. Valencia?

  7             THE DEFENDANT:      Yes, Your Honor.

  8             THE COURT:     Do you understand that parole has been

  9   abolished in the federal system, Mr. Valencia, so, if you were

 10   sentenced to a term of imprisonment, you would not be eligible

 11   for early release on parole?         Do you understand that?

 12             THE DEFENDANT:      Yes, yes, I do.

 13             THE COURT:     All right.     Let me review the proffer

 14   with you now, and before I do so, let me ask the Government to

 15   state on the record for your benefit the elements of the

 16   offense charged in Count 3 of the fourth superseding

 17   indictment.

 18             MR. TAMEN:     In essence, Your Honor, the elements are

 19   that the defendant joined together with one or more other

 20   persons in an agreement; that the object of that agreement was

 21   to import cocaine into the United States; and as charged in

 22   this agreement, the agreement included that the quantity of

 23   cocaine to be imported would be in excess of 150 kilograms.

 24             THE COURT:     Now, do you understand, Mr. Valencia,

 25   that the Government would have to prove each of those elements
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  1   of the offense beyond a reasonable doubt if you maintain your

  2   plea of not guilty as to Count 3?          Do you understand that?

  3             THE DEFENDANT:      Yes, I do, Your Honor.

  4             THE COURT:     And that by changing your plea from not

  5   guilty to guilty on Count 3, what you are doing is you're

  6   assenting to each of those elements having been firmly

  7   established in your case.        Do you understand?

  8             THE DEFENDANT:      That's correct, Your Honor.

  9             THE COURT:     Now, reviewing the proffer with you, it

 10   indicates that during the time period of December 1997 through

 11   November 1999, you were living in California and making

 12   periodic trips to Mexico.        During that time period you were

 13   involved in receiving quantities of cocaine that Colombian

 14   traffickers sent from Colombia to Mexico.            Your associates

 15   received shipments of cocaine at sea offshore from Mexico and

 16   brought it into Mexico knowing that it was subsequently

 17   transported to the United States.

 18             Are all those facts true, Mr. Valencia?

 19             THE DEFENDANT:      Yes, Your Honor.

 20             THE COURT:     The proffer continues that a gentleman by

 21   the name of Alejandro Bernal Madrigal was a Colombian cocaine

 22   trafficker who annually smuggled several thousand kilos of

 23   cocaine from Colombia to the United States and Mexico during

 24   that time period.

 25             In 1999, you traveled to Colombia and met with
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  1   Mr. Bernal at his ranch near Medellin.           You told him that you

  2   could receive shipments of Mr. Bernal's cocaine at sea and

  3   would bring it into Mexico.        Bernal agreed to provide you with

  4   a shipment of several thousand kilos of cocaine that you would

  5   then pick up at sea near Mexico.

  6              In 1999, Bernal obtained approximately 8,671

  7   kilograms of cocaine for you.         In February or March of 1999,

  8   he shipped the entire quantity out of Buena Ventauro,

  9   Colombia, in commercial fishing boats owned by one of his

 10   partners in a deal.      You then picked up the cocaine in

 11   ship-to-ship transfers at sea by fishing boats under your

 12   control.    The shipment was brought into Mexico at Mazatlan in

 13   early April 1999.

 14              Are all those facts true as well, Mr. Valencia?

 15              THE DEFENDANT:     Yes, Your Honor.

 16              THE COURT:    And you in fact entered into an agreement

 17   with Mr. Bernal and others for purposes of importing cocaine

 18   into the United States?

 19              THE DEFENDANT:     That is correct, Your Honor.

 20              THE COURT:    And did you do so knowingly, meaning you

 21   understood what you were doing at the time you did it?

 22              THE DEFENDANT:     That is correct, yes, Your Honor.

 23              THE COURT:    And do you understand that the quantity

 24   involved in your case is at least 150 kilograms of cocaine?

 25              THE DEFENDANT:     Yes, Your Honor.
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  1             THE COURT:     Now, other than what's contained in the

  2   plea agreement and the proffer that we just reviewed with you,

  3   Mr. Valencia, has anybody made any promises or inducements to

  4   you to get you to change your plea to Count 3?

  5             THE DEFENDANT:      I'm sorry.     I didn't quite understand

  6   that.   Could you repeat that, please?

  7             THE COURT:     Yes.    The question is, other than what's

  8   contained in the plea agreement which I reviewed with you and

  9   the factual proffer, has anybody made any promises or

 10   inducements to you to get you to change your plea?

 11             THE DEFENDANT:      No, no, Your Honor.

 12             THE COURT:     Has anybody threatened or coerced you in

 13   any way to get you to change your plea?

 14             THE DEFENDANT:      No, Your Honor.

 15             THE COURT:     Has anybody threatened anybody close to

 16   you to get you to change your plea?

 17             THE DEFENDANT:      No, Your Honor.

 18             THE COURT:     Are you changing your plea as to Count 3

 19   because you are in fact guilty of that offense?

 20             THE DEFENDANT:      That is correct, Your Honor.

 21             THE COURT:     All right.     Before I accept the

 22   defendant's plea, let me ask the Government, anything I

 23   omitted or should have clarified for the defendant?

 24             MR. TAMEN:     Nothing, Your Honor.

 25             THE COURT:     Mr. Lichter?
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                                                                                  19

  1             MR. LICHTER:      I can't think of anything, Your Honor.

  2             THE COURT:     All right.     Very well.

  3             Mr. Valencia, having explained to you then your right

  4   to maintain your plea of not guilty as to all counts of the

  5   indictment, explained to you the consequences from a

  6   conviction on Count 3 of the indictment, the facts to which

  7   you're pleading guilty to, how do you wish to plead as to

  8   Count 3 of the fourth superseding indictment:             Guilty or not

  9   guilty?

 10             THE DEFENDANT:      I am guilty.

 11             THE COURT:     All right.     Very well.

 12             It is the finding of the Court then in the United

 13   States of America versus Armando Valencia that Mr. Valencia is

 14   fully competent and capable of entering an informed plea; that

 15   his plea of guilty as to Count 3 is knowing and voluntary

 16   supported by an independent basis in fact containing each of

 17   the essential elements of the offense charged.             I will

 18   therefore recommend that his plea be accepted and that he be

 19   adjudged guilty of the offense.

 20             At this stage, Mr. Valencia, Probation is going to

 21   conduct an investigation for purposes of preparing a

 22   presentence report for the Court's consideration.              You have a

 23   right to have your lawyer with you at the interview.               You also

 24   have a right to review that report prior to the date of

 25   sentencing and make any objections to it that you believe are
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  1   appropriate to do so, and on the date of sentencing you have

  2   the right to present Judge Moore with any information or

  3   evidence necessary for him to render a fair and just

  4   sentence.

  5             Do you understand all that?

  6             THE DEFENDANT:        Yes, Your Honor.

  7             THE COURT:        Your sentencing date, Mr. Valencia, will

  8   be January 10, 2013, at 2:00 p.m. before Judge Moore.

  9             Any request to change the current bond or detention

 10   order at this time?

 11             MR. TAMEN:     No, Your Honor.

 12             THE COURT:     Mr. Lichter?

 13             MR. LICHTER:       Judge, would you repeat the date and

 14   time again?

 15             THE COURT:     Yes.      A sentencing order will be issued,

 16   January 10, 2013, at 2:00 p.m.

 17             MR. LICHTER:       2:00 p.m.

 18             THE COURT:     Right.

 19             MR. TAMEN:     Thank you.        I have no problem with that

 20   date or time.

 21             THE COURT:     All right.        Very well.

 22             Thank you very much, Mr. Valencia.

 23       *     *      *      *      *       *       *     *      *       *

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  1                         C E R T I F I C A T E

  2

  3           I certify that the foregoing is a correct transcript

  4   from the record of proceedings in the above-entitled matter.

  5                                             Digitally signed by Bill Romanishin

  6                /s/   Bill Romanishin        DN: cn=Bill Romanishin, ou=Federal
                                                Judiciary, o=U.S.Government, c=US
                                                Date: 2013.02.13 12:53:26 -05'00'
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